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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )            8:06CR19
                    Plaintiff,                 )
                                               )
      vs.                                      )             ORDER
                                               )
JUAN VARGAS,                                   )
                                               )
                    Defendant.                 )




      This matter is before the court on the motion of James R. Kozel, CJA, to withdraw
as counsel for the defendant, Juan Vargas [132]. Since retained counsel, Anthony S.
Troia, has entered an appearance for the defendant [129], the motion to withdraw [132] is
granted. James R. Kozel shall be deemed withdrawn as attorney of record and shall
forthwith provide Anthony S. Troia with the discovery materials provided the defendant by
the government and such other materials obtained by Mr. Kozel which are material to the
defendant’s defense.


      IT IS SO ORDERED.
      DATED this 8th day of September, 2006.


                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
